CM/ECF-GA Northern District Court                                  https://ecf.gand.circ11.dcn/cgi-bin/GANDc_mkmin.pl?36193586578563...
                       Case 1:17-cr-00224-AT-CMS Document 80 Filed 11/20/18 Page 1 of 2




                                                  1:17-cr-00224-AT-CMS
                                                  USA v. Pendergrass et al
                                                 Honorable Amy Totenberg


                                Minute Sheet for proceedings held In Open Court on 11/20/2018.


              TIME COURT COMMENCED: 3:10 P.M.
                                                                  COURT REPORTER: Shannon Welch
              TIME COURT CONCLUDED: 3:45 P.M.
                                                                  CSO/DUSM: Horace Toney
              TIME IN COURT: 00:35
                                                                  DEPUTY CLERK: Harry Martin
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):               [1]Allen J. Pendergrass Present at proceedings
         ATTORNEY(S)                Jeffrey Brown representing USA
         PRESENT:                   Robert Citronberg representing Allen J. Pendergrass
                                    Teresa Stolze representing USA
         PROCEEDING
                                    Motion Hearing(Motion Hearing Non-evidentiary);
         CATEGORY:
         MOTIONS RULED              DFT#1-[79]Motion to Dismiss Indictment GRANTED IN PART &
         ON:                        DENIED IN PART
         MINUTE TEXT:               Defendants pro se motion to dismiss counsel granted. The trial scheduled
                                    to begin November 26, 2018, is continued to a date to be determined.
                                    Written order to follow.
         HEARING STATUS:            Hearing Concluded




1 of 2                                                                                                              11/20/2018 4:26 PM
CM/ECF-GA Northern District Court                       https://ecf.gand.circ11.dcn/cgi-bin/GANDc_mkmin.pl?36193586578563...
                       Case 1:17-cr-00224-AT-CMS Document 80 Filed 11/20/18 Page 2 of 2




2 of 2                                                                                                   11/20/2018 4:26 PM
